      Case 2:14-cr-00610-JFW              Document 1-1             Filed 10/22/14       Page 1 of 1 Page ID #:2

                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                WESTERN DIVISION                                  SOUTHERN DIVISION
                                             312 North Spring Street, Room G-8                  411 West Fourth Street, Suite 1053
                                                  Los Angeles, CA 90012                            Santa Ana, CA 92701-4516
                                                   Tel: (213) 894-3535                                   (714) 338-4750

                                                                                                   EASTERN DIVISION
    TERRY NAFISI                                    October 24, 2014                             3470 Twelfth Street, Room 134
District Court Executive and                                                                         Riverside, CA 92501
       Clerk of Court                                                                                  (951) 328-4450
Clerk, United States District Court
District of Idaho
James A. McClure Federal Building
and United States Courthouse
550 West Fort Street, Room 400
Boise, ID 83724-0101




 Re: Transfer of Jurisdiction of Probation
           Your Case No. 4:13CR00219-003
           Assigned Our Case No. 2:14-CR-00610 JFW
           Case Title: USA v. Jesus Burgos


 Dear Sir/Madam:

 Enclosed is the original Probation Form 22, Transfer of Jurisdiction, of the above-named probationer to this
 district as accepted by Judge George H. King                                                              .

 Please forward to this district court certified copies of the following documents:
     1) Indictment, Information, or Complaint
     2) Judgment and Probationary Order
     3) If a Class A Misdemeanor, a copy of a signed Consent to proceed before a magistrate judge, and/or
           document reflecting such consent, or waiver form.

 The probationer has been assigned our case number as referenced above. Please include this case number in all
 future correspondence.

                                                                 Sincerely,

                                                                 Clerk, U.S. District Court



                                                                 By /s/ J. Lam (Jenny_Lam@cacd.uscourts.gov)
                                                                    Deputy Clerk




 cc: Probation Office, Los Angeles
     Probation Office, District of Origin


 CR-25 (09/08)                        TRANSMITTAL LETTER - PROBATION TRANSFER-IN
